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                             UNITED STATES DISTRICT COURT


                                DISTRICT OF SOUTH DAKOTA


                                      CENTRAL DIVISION



  UNITED STATES OF AMERICA,                                         3:20-30026-RAL


                        Plaintiff,                       OPINION AND ORDER ADOPTING
                                                     REPORT AND RECOMMENDATION AND
                                                      GRANTING IN PART AND DENYING IN
         vs.                                             PART MOTION TO SUPPRESS AND
                                                      DENYING MOTION FOR PRODUCTION
  PATRICK RED BIRD,                                   IN PART AND GRANTING MOTION TO
                                                                        QUASH
                        Defendant.




        The Government charged Patrick Red Bird with assaulting, resisting, and impeding a

 federal officer in violation of 18 U.S.C. §§ 111(a) and 111(b). Doc. 1. Red Bird moved to dismiss

 the indictment, or in the altemative, suppress evidence of the assault and certain post-arrest

 statements on the basis that the officers violated his Fourth and Fifth Amendment rights. Doc. 29.

 Magistrate Judge Mark A. Moreno held a suppression hearing. Docs. 37,40,44. Thereafter, Judge

 Moreno filed a Report and Recommendation, recommending that Red Bird's motion be granted in

 part and denied in part. Doc. 56. Red Bird filed objections to the Report and Recommendation,

 challenging some of Judge Moreno's factual fmdings and legal conclusions. Doc. 63.

        In addition to objecting to the Report and Recommendation, Red Bird also appeals two of

 Judge Moreno's decisions relating to discovery. First, Red Bird appeals Judge Moreno's opinion

 and order granting in part and denying in part defendant's motion for production of law

 enforcement records and files to the extent that Judge Moreno declined an in camera review of the

 law enforcement personnel records and files belonging to former Todd County Sheriff Deputy

 Wesley Sudbeck and Mission City Chief of Police Barry Bailey. Doc. 61. Red Bird also appeals

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 Judge Moreno's opinion and order granting the government's motion to quash the subpoena duees

 tecum served by Red Bird on Rosebud Sioux Tribal Police Officer Bryan Waukazoo. Doc. 62.

 This Court will take up all three matters, addressing each in turn.

     I.      Motion to Dismiss the Indictment, or in the Alternative Snppress

     A. Factual Background

          On December 27, 2019, Officer Bryan Waukazoo received a call from dispatch that a male

 subject in Mission, South Dakota, was hitting the backs of cars and that the same male subject had

 fallen face first in a snowbank. Mot. Hr'g Tr. at 9. Officer Waukazoo responded to the call and

 observed a man matching dispatch's description. Mot. Hr'g Tr. at 9. Officer Waukazoo observed

 the man sit down and fall over. Mot. Hr'g Tr. at 10. Then the man jumped up as another subject

 approached him, and it appeared to Officer Waukazoo that the man was trying to fight the

 newcomer. Mot. Hr'g Tr. at 10. At that time. Officer Waukazoo exited his patrol vehicle and

 identified himself. Mot. Hr'g Tr. at 10. In response, the man walked away hastily, eventually

 breaking into a run. Mot. Hr'g Tr. at 10.

          Officer Waukazoo got back into his patrol vehicle to search for the man, and he requested

 assistance from Sheriff Sudbeck and Chief Bailey. Mot. Hr'g Tr. at 10-11. Once Sheriff Sudbeck

 and Chief Bailey had arrived, all three officers proceeded to look for the man on foot. Mot. Hr'g

 Tr. at 11. In doing so,they observed tracks in the snow leading up to a red trailer home. Mot. Hr'g

 Tr. at 11. To Officer Waukazoo, the trailer home appeared abandoned, and the front door was

  missing a doorknob. Mot. Hr'g Tr. at 11. The officers announced themselves and knocked at the

 door; because the door had no doorknob, each time they knocked, the door opened further. Mot.

 Hr'g Tr. at 11, 30. After the door had opened enough to reveal the interior of the trailer home,the

 officers decided to enter and search for the male subject, room by room. Mot. Hr'g Tr. at 11.
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        Once inside, the officers found the man that Officer Waukazoo had encountered earlier,

 hiding in a bedroom closet. Mot. Hr'g Tr. at 11. They identified him as Patrick Red Bird, the

 defendant in this case. Mot. Hr'g Tr. at 31-32. Thereafter, they placed Red Bird under arrest, and

 Officer Waukazoo escorted Red Bird to a patrol vehicle to transport him to the Rosebud jail. Mot.

 Hr'g Tr. at 11-12. While in the back of the patrol car en route to the jail. Red Bird slipped his

 handcuffs from behind his body to the front of his body and freed one of his hands from the wrist

 restraints. Mot. Hr'g Tr. at 12. Upon noting that Red Bird freed his hand. Officer Waukazoo

 stopped the vehicle to fix Red Bird's wrist restraints. Mot. Hr'g Tr. at 12. But once again. Red

 Bird slipped his handcuffs from behind his body to the front ofhis body. Mot. Hr'g Tr. at 12. When

 Officer Waukazoo attempted to restrain Red Bird once more. Red Bird pulled away and shoved

 Officer Waukazoo in an effort to escape. Mot. Hr'g Tr. at 12-13. Then a struggle ensued. Mot.

 Hr'g Tr. at 13. At some point. Red Bird allegedly grabbed hold of, and began to squeeze. Officer

 Waukazoo's neck and throat. Mot. Hr'g Tr. at 12-13, 75-77, 89-90. Officer Waukazoo delivered

 four punches to the face to break Red Bird's grip. Mot. Hr'g Tr. at 13, 77. Once Red Bird had

 loosened his grip. Officer Waukazoo forced Red Bird into the car and sprayed him with an OC

 agent. Mot. Hr'g Tr. at 13, 78. Finally, Red Bird quit resisting, and the officers were able to

 successfully transport him to the jail. Mot. Hr'g Tr. at 13.

    B. Discussion


        This Court reviews a report and recommendation under 28 U.S.C. § 636(b)(1), which

 provides in relevant part that "[a]judge of the [district] court shall make a de novo determination

 of those portions of the report or specified proposed findings or recommendations to which

 objection is made." However,"[i]n the absence of an objection, the district court is not required

 'to give any more consideration to the magistrate's report than the court considers appropriate.'"
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 United States v. Murillo-Figueroa. 862 F. Supp. 2d 863, 866(N.D. Iowa 2012)(quoting Thomas

 V. Am. 474 U.S. 140, 150 (1985)). Having conducted a de novo review of those portions of the

 Report and Recommendation to which Red Bird objects, this Court adopts the Report and

 Recommendation as supplemented by this opinion.

         1. Dismissal of Indictment


        Red Bird's primary argument is that the indictment should be dismissed because the

 governmental officials engaged in outrageous conduct in violation of the Due Process Clause of

 the Fifth Amendment. Like the Supreme Court in United States v. Russell. 411 U.S. 423, 431-32

 (1973), the Eighth Circuit has "left open the possibility that, in rare instances, the investigative

 methods employed by law enforcement could be 'so outrageous that due process bars the

 government from invoking the judicial process to obtain a conviction.'" United States v. Combs.

 827 F.3d 790, 794 (8th Cir. 2016)(quoting United States v. King. 351 F.3d 859, 867 (8th Cir.

 2003)). This defense will rarely apply as it is "reserved for conduct that falls within the narrow

 band of the most intolerable government conduct." Combs. 827 F.3d at 794-95 (cleaned up and

 citation omitted); see also United States v. Hunt. 171 F.3d 1192, 1195 (8th Cir. 1999)("The level

 of outrageousness needed to prove a due process violation is quite high .. . .")(cleaned up and

 citation omitted)). Such conduct violates "fundamental fairness" and shocks "the universal sense

 ofjustice." Combs. 827 F.3d at 794-95 (quoting Russell. 411 U.S. at 432). While the defense is

 similar to and often raised with the defense of entrapment, the defenses are distinguishable in that

 the defense of entrapment focuses on the predisposition of the defendant whereas the defense of

 outrageous government conduct focuses on the government's actions. Hunt. 171 F.3d at 1195.

         Red Bird argues that the indictment should be dismissed because of the government's

 allegedly outrageous conduct which he describes as "entering the home without a warrant to arrest
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 [him]for minor misdemeanor offenses based on ambiguous evidence,some of which did not even

 occur in the officers' presence." Doc. 63 at 4. After examining all the facts and circumstances

 surrounding this case, the defense is simply not applicable here. The government's conduct falls

 well short of outrageous government conduct violative of the Due Process Clause of the Fifth

 Amendment, and there is no claim that the government somehow entrapped Red Bird or induced

 him to engage in the criminal activity at issue. Judge Moreno properly concluded that dismissal

 was not warranted.


          2. Suppression of Evidence

          In the alternative. Red Bird argues that the conduct giving rise to the indictment should be

 suppressed based on the Fourth Amendment. Absent special circumstances, the Supreme Court

 has "consistently held that the entry into a home to conduct a search or make an arrest is

 unreasonable under the Fourth Amendment unless done pursuant to a warrant." Steagald v. United

 States. 451 U.S. 204,211-12(1981). But ofcourse,"because the ultimate touchstone ofthe Fourth

 Amendment is reasonableness, the warrant requirement is subject to certain exceptions." Brigham

 Citv V. Stuart. 547 U.S. 398, 403(2006)(cleaned up and citations omitted). The goverrunent bears

 the burden of showing that an exception exists. United States v. James. 353 F.3d 606,613(8th Cir.

 2003).

          Here, it is undisputed that the officers entered the trailer home without a warrant to arrest

 Red Bird. Judge Moreno found that the officers' actions were justified because they acted under

 the reasonable, but mistaken, belief that the trailer home was abandoned and were in hot pursuit

 of a fleeing suspect. Red Bird challenges both of these legal conclusions as well as many of the

 factual findings underlying these conclusions. However, this Court need not address those
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 objections because, as found by Judge Moreno, Red Bird's conduct after the arrest provided an

 independent basis for a second, legitimate arrest.

        The Eighth Circuit has recognized that "resistance to an illegal arrest can furnish grounds

 for a second,legitimate arrest." United States v. Sledge.460 F.3d 963,966(8th Cir. 2006)(quoting

 United States v. Schmidt. 403 F.3d 1009, 1016 (8th Cir. 2005)). "When a defendant commits a

 new and distinct crime during an unlawful detention, the Fourth Amendment's exclusionary rule

 does not bar evidence of the new crime." United States v. Hunt. 372 F.3d 1010, 1012 (8th Cir.

 2004)."A contrary rule would virtually immunize a defendant from prosecution for all crimes he

 might commit that have a sufficient causal connection to the police misconduct." Schmidt. 403

 F.2d at 1016 (quoting United States v. Bailev. 691 F.2d 1009, 1016-17 (11th Cir. 1982)

 (concluding that "notwithstanding a strong causal connection in fact between lawless police

 conduct and a defendant's response, if the defendant's response is itself a new,distinct crime, then

 the police constitutionally may arrest the defendant for that crime")). "Moreover, sound policy

 reasons obviously argue that the law should discourage and deter the incentive on the part of

 potential arrestees to forcibly resist arrest or to commit other new and separate crimes." Bailev.

 691 F.2dat 1017.


        Although Red Bird objects to Judge Moreno's factual findings as to what happened in the

 patrol car on the way to the Rosebud jail, this Court fmds that Judge Moreno's characterization of

 the event is supported by Officer Waukazoo's testimony at the suppression hearing. Further, these

 factual findings create an independent basis for a second, legitimate arrest because, if Officer

 Waukazoo's testimony is believed. Red Bird committed a new and distinct crime when he

 assaulted Officer Waukazoo and attempted to escape the patrol car. Judge Moreno properly

 concluded that the exclusionary rule does not require evidence of the assault to be suppressed.
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 regardless of whether the arrest inside the trailer home was unlawful. For these reasons, Red Bird's

 objections to the report and recommendation are overruled.

    II.      Motion for Production of Law Enforcement Records and Files

          Red Bird also moved for an order from Judge Moreno requiring the government to either

 provide defense counsel with the law enforcement persormel files and records of Officer

 Waukazoo, Sheriff Sudbeck, and Chief Bailey or, in the alternative, provide such files and records

 to Judge Moreno for his own in camera review. Docs. 35, 36. Judge Moreno issued an order

 granting in part and denying in part Red Bird's motion to produce. Doc. 55. Ofparticular relevance

 here. Judge Moreno denied Red Bird's motion to the extent that it sought the personnel files and

 records of Sheriff Sudbeck and Chief Bailey. Doc. 55 at 6-7. Red Bird appeals that portion of

 Judge Moreno's decision. Doc. 61.

          A district court may reconsider a magistrate judge's ruling on nondispositive pretrial

 matters where it has been shown that the ruling is clearly erroneous or contrary to law. 28 U.S.C.

 § 636(b)(1)(A); Fed. R. Crim. P. 59(a); see also Ferguson v. United States. 484 F.3d 1068, 1076

 (8th Cir. 2007). Under other circumstances, the Supreme Court has stated that "[a] finding is

 clearly erroneous when although there is evidence to support it, the reviewing court on the entire

 evidence is left with the definite and firm conviction that a mistake has been committed." Anderson

 V. City of Bessemer Citv. 470 U.S. 564,573(1985)(cleaned up and citation omitted)."A decision

 is 'contrary to law' when it fails to apply (or misapplies) relevant statutes, case law, or rules of

 procedure." Edeh v. Midland Credit Mgmt.. Inc.. 748 F. Supp. 2d 1030, 1043 (D. Minn. 2010)

 (citation omitted). Thus, the standard of review is "deferential." United States v. Simmermaker.

 423 F. Supp. 3d 626, 631 (N.D. Iowa 2019)(citing Dixon v. Crete Med. Clinic. P.C.. 498 F.3d

 837, 846^7(8th Cir. 2007)).
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        Red Bird asserts that Judge Moreno's decision is clearly erroneous or contrary to law

 because Sheriff Sudbeck's and Chief Bailey's law enforcement personnel files are discoverable

 under United States v. Baglev.473 U.S. 667(1985), GIrHo v. United States. 405 U.S. 150(1972),

 Brady v. Maryland. 373 U.S. 83(1963), as well as under Rule 16 of the Federal Rules of Criminal

 Procedure. Doc.61 at 4. The Supreme Court held in Brady "that the suppression hy the prosecution

 of evidence favorable to an accused upon request violates due process where the evidence is

 material either to guilt or to punishment, irrespective of the good faith or bad faith of the

 prosecution." 373 U.S. at 87. Included among the evidence that Brady obligates the prosecution to

 disclose is both exculpatory evidence and impeachment evidence, that is, "evidence affecting

 credibility," Giglio. 405 U.S. at 154, or "evidence that the defense might [use] to impeach the

 Government's witnesses by showing bias or interest," Baglev. 473 U.S. at 676. To trigger Bradv

 and its progeny,"[a] finding of materiality of the evidence is required ... ." Giglio. 405 U.S. at

 154. Evidence is material under Bradv if there is "a reasonable probability that, had the evidence

 been disclosed to the defense, the result of the proceeding would have been different." United

 States V. Rvan. 153 F.3d 708, 712 (8th Cir.1998)(quoting Kvles v. Whitlev. 514 U.S. 419, 433-

 34(1995)).

        The Eighth Circuit has stated that "[mjere speculation that a government file may contain

 Bradv material is not sufficient to require .. . in camera inspection." United States v. Pou. 953

 F.2d 363, 366-67 (8th Cir. 1992)(quoting United States v. Navarro. 737 F.2d 625, 631 (7th Cir.

 1984)). Other circuits have also held that the government need not turn over law enforcement

 persoimel files or produce them for in camera inspection when the defendant's assertion that such

 files contain material evidence is merely speculative. See United States v. Guinn. 123 F.3d 1415,

 1421-22(11th Cir. 1997)(holding that the government is not required to disclose the contents of
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 personnel files or produce the files for the district court's inspection when the defendant has failed

 to demonstrate that the contents contain material evidence); United States v. Driscoll. 970 F.2d

 1472, 1482 (6th Cir. 1992)(holding that the district court's refusal to order the disclosme of the

 testifying officers' personnel files did not violate Bradv when the defendant "offered no support

 for his contention that personnel files might contain information important to his case."), abrogated

 on other grounds by Hampton v. United States. 191 F.3d 695 (6th Cir. 1999); United States v.

 Andrus, 775 F.2d 825, 843 (7th Cir. 1985)(holding that the defendant "was not entitled to the

 persoimel files of the law enforcement witnesses without even a hint that impeaching material was

 contained therein"). But see United States v. Henthom. 931 F.2d 29, 31 (9th Cir. 1991)(holding

 that the defendant does not have to make an initial showing of materiality before the govermnent

 is required to examine personnel files).

        Rule 16 of the Federal Rules of Criminal Procedure also requires a showing of materiality.

 Rule 16, which sets forth the types of information the govermnent must disclose to defendants in

 discovery, requires disclosure of information that is "material to preparing the defense." Fed. R.

 Crim. P. 16(a)(l)(E)(i). Evidence is material under Rule 16 if it is "helpful to the defense," United

 States V. Vue. 13 F.3d 1206, 1208 (8th Cir. 1994), and "enables a defendant significantly to alter

 the quantum of proof in his or her favor," United States v. Baker. 453 F.3d 419, 425 (7th Cir.

 2006). The defendant bears the burden of showing materiality under Rule 16. United States v.

 Jean. 891 F.3d 712, 715 (8th Cir. 2018); Vue. 13 F.3d at 1208. A showing of materiality requires

 more than "a mere conclusory allegation" of the requested information's materiality. United States

 V. Krauth. 769 F.2d 473, 476 (8th Cir. 1985)(discussing predecessor Rule 16(a)(1)(C))(citation

 omitted). See also United States v. Mandel. 914 F.2d 1215, 1219 (9th Cir. 1990) ("Neither a

 general description of the information sought nor conclusory allegations of materiality suffice; a
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  defendant must present facts which would tend to show that the Government is in possession of

  information helpful to the defense.")- In sum, neither Brady and its progeny nor Rule 16 require

  the government to produce personnel files when the defendant's assertion that the files contain

  impeachment evidence is speculative or conclusory.

         Judge Moreno found that Red Bird failed to make any kind of showing that there may be

  impeachment evidence in Sheriff Sudbeck's or Chief Bailey's law enforcement personnel files.

  This Court agrees. Unlike Officer Waukazoo,see Doc. 52-1,there is nothing within either officer's

  law enforcement history that would suggest any alleged past wrongdoing or impropriety. Thus, as

  Judge Moreno characterized it. Red Bird's request is "speculative" and "more a fishing expedition

  to find something to use against the two officers." Doc. 55 at 7. Red Bird has not made the requisite

  showing of materiality under Bradv or Rule 16. As such. Judge Moreno's decision was not clearly

  erroneous or contrary to law.

     III.    Motion to Quash Subpoena Dnees Tecum

         Finally, Red Bird appeals Judge's Moreno's opinion and order granting the government's

  motion to quash the subpoena duces tecum served by Red Bird on Officer Waukazoo. Doc. 62. At

  the suppression hearing. Officer Waukazoo testified on direct examination that he believed there

  were three or four video clips of body camera footage related to the incident involving Red Bird

  on December 27,2019. Mot. Hr'g Tr. at 27. The prosecutor asked him if it were possible that there

  may only be two video clips from the day in question, and he responded,"Oh, yeah, it could have

  only been two." Mot. Hr'g Tr. at 27. When defense counsel asked him why he thought there may

  be as many as four video clips. Officer Waukazoo replied that he was not sure how many video

  clips there were. Mot. Hr'g Tr. at 45. He did clarify, however,that he did not erase any video clips.




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  nor has he ever erased any video clips and that the footage available from that day could be found

  on a hard drive at the police department. Mot. Hr'g Tr. at 45-46.

         Based on this testimony alone, Red Bird subpoenaed Officer Waukazoo and directed that

  he produce the hard drive at the next hearing so that a defense-hired expert could review it to see

  if there were more than two video clips related to the incident in question and whether any video

  clips had been erased. Doc. 39; Mot. Hr'g Tr. at 123-24. In response, the government filed a

  motion to quash the subpoena duces tecum. Doc. 43. Judge Moreno issued an opinion and order

  granting the government's motion. Doc. 54. This Court should overturn the magistrate court's

  opinion and order granting the motion to quash under 28 U.S.C. § 636(b)(1)(A)"where it has been

  shown that the magistrate judge's order is clearly erroneous or contrary to law."

         Red Bird argues that Judge Moreno's decision is clearly erroneous or contrary to law. Doc.

  62 at 1. He contends that he has made the required showing under Rule 17 of the Federal Rules of

  Criminal Procedure to gain access to the hard drive via subpoena. Doc. 62 at 7. He also asserts

  that he is entitled to the hard drive under Bradv and Giglio. Doc. 62 at 8. Rule 16 of the Federal

  Rules of Criminal Procedure governs discovery and inspection, but has no provision for issuance

  of subpoenas. Rule 17(c), which addresses subpoenas for documents and objects, does not give

  defendants a means of discovery in criminal cases but rather was designed "to expedite the trial by

  providing a time and place before trial for the inspection and of subpoenaed materials." United

  States V. Nixon. 418 U.S. 683, 698-99(1974); see also Bowman Dairv Co. v. United States. 341

  U.S. 214, 220 (1951)("It was not intended by Rule 16 to give a limited right of discovery, and

  then by Rule 17 to give a right of discovery in the broadest of terms."). The Supreme Court in

  Nixon explained that the moving party under Rule 17(c) must show that the information sought is

  relevant, requested with adequate specificity, and is admissible. Nixon. 418 U.S. at 700. The



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  "specificity and relevance elements require more than the title of a document and conjecture as to

  its contents." United States v. Hardy. 224 F.3d 752, 755 (8th Cir. 2000)(citation omitted).

            A party requesting production before trial also must show that the information is "not

  otherwise procurable reasonably in advance of trial by exercise of due diligence," that "the party

  cannot properly prepare for trial without such production," and that "the application is made in

  good faith and is not intended as a general 'fishing expedition.'" Nixon. 418 U.S. at 699-700.

  The Eighth Circuit has applied the Nixon test in criminal cases involving a subpoena duces tecum

  to a third party. United States v. Bradford. 806 F.3d 1151, 1155 (8th Cir. 2015); United States v.

  Hang. 75 F.3d 1275, 1283 (8th Cir. 1996); see also United States v. Rand. 835 F.3d 451,463-64

 (4th Cir. 2016)(holding that the Nixon standard applies to subpoenas to third parties under Rule

  17(c)).

            Red Bird's argument for production of the hard drive rests upon mere speculation. Officer

  Waukazoo's testimony at the suppression hearing does not provide a basis for suspecting that he

  or anyone else within the tribal police department deleted any of the recordings related to the

  incident from that day. Officer Waxxkazoo's testimony revealed that he was simply unsure of how

  many video clips existed from that day. However,he was clear that he did not erase any such video

  clips, nor has he ever erased any video clips from an investigation. To suggest that there may be

  additional video clips on the hard drive on the basis of Officer Waukazoo's testimony alone is

  speculative and, as Judge Moreno phrased it, "smacks of a fishing expedition." Doc. 54 at 5.

  Moreover, the government has assiued Judge Moreno that it will provide Red Bird with all body

  camera recordings created by Officer Waukazoo in the course ofhis encounter with Red Bird from

  that day. Doc. 43 at 2. This Court takes the government at its word, and as such. Red Bird has

  failed to show why the hard drive would contain any information beyond what the government has



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  produced and further agreed to provide in discovery. Rather, the hard drive contains countless

  other videos that have nothing to do with Red Bird or the incident on December 27, 2019. Judge

  Moreno properly found that Red Bird's subpoena duces tecum failed to meet the three

  requirements of relevance, specificity, and admissibility. Red Bird also fails to make the required

  showing of materiality under Bradv and Giglio. Doc. 54 at 5. As such, this Court finds that Judge

  Moreno's decision was not clearly erroneous or contrary to law.

      IV.      Conclusion


  For the reasons explained herein, it is hereby

            ORDERED that the Report and Recommendation for Disposition of Motion to Dismiss or

  in the Alternative Suppress, Doc. 56, is adopted. It is further

            ORDERED that Red Bird's Motion to Dismiss the Indictment or in the Alternative to


  Suppress, Doc. 29, is granted to the extent that Red Bird's post-arrest statements are suppressed

  and not to be used in the government's case-in-chief, but is otherwise denied. It is further

            ORDERED that this Court affirms the denial of Red Bird's Motion for Production of Law


  Enforcement Records and Files to the extent that Red Bird sought a court order requiring the

  production of law enforcement records and files belonging to former Sheriff Sudbeck and Chief

  Bailey. It is further

            ORDERED that this Court affirms the grant of the Government's Motion to Quash. It is

  finally

            ORDERED that Defendant's objections contained in Does. 61 and 62 are overruled.




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       DATED this   day of October, 2020.



                                      BY THE COURT:




                                      ROBERTO A. LANGE


                                      CHIEF JUDGE




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